Case: 14-11916-CJP Doc #: 92-3 Filed: 10/10/14 Desc: Exhibit C - Confidentiality
                          Agreement Page 1 of 4
Case: 14-11916-CJP Doc #: 92-3 Filed: 10/10/14 Desc: Exhibit C - Confidentiality
                          Agreement Page 2 of 4
Case: 14-11916-CJP Doc #: 92-3 Filed: 10/10/14 Desc: Exhibit C - Confidentiality
                          Agreement Page 3 of 4
Case: 14-11916-CJP Doc #: 92-3 Filed: 10/10/14 Desc: Exhibit C - Confidentiality
                          Agreement Page 4 of 4
